           Case:2:20-cv-02675-PBT
           Case  20-1941 Document:  5 Page:
                                  Document 1 1FiledDate Filed: 06/05/2020
                                                    06/05/20   Page 1 of 1




BLD-200                                            May 21, 2020
    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                    C.A. No. 20-1941

In re: MAJOR G. TILLERY, Petitioner

Present:       AMBRO, GREENAWAY, Jr., and BIBAS, Circuit Judges

              Submitted are:

              (1)    Petitioner’s application under 28 U.S.C. § 2244 to file a second or
                     successive petition under 28 U.S.C. § 2254;

              (2)    Petitioner’s amendment to the application under 28 U.S.C. § 2244;

              (3)    Petitioner’s motion to be relieved from the filing requirements of
                     Local Appellate Rule 22.5; and

              (4)    Petitioner’s motion to file a video

                     in the above-captioned case.

                                          Respectfully,

                                          Clerk

________________________________ORDER_________________________________

Petitioner’s motion to be relieved from the filing requirements of Local Appellate Rule
22.5 is granted, and his application under 28 U.S.C. § 2244 for leave to file a second or
successive habeas corpus petition is deemed filed. Petitioner’s application under § 2244
is granted. Petitioner’s motion to file a video is denied.

                                                           By the Court,

                                                           s/Joseph A. Greenaway, Jr.
                                                           Circuit Judge

Dated: June 5, 2020
PDB/cc: Major G. Tillery

                                                                           A True Copy :



                                                                                Patricia S. Dodszuweit, Clerk
